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                   UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF TEXAS
                         AUSTIN DIVISION
VLSI TECHNOLOGY LLC                      §
                                         §     CIVIL NO:
vs.                                      §     AU:19-CV-00977-ADA
                                         §
INTEL CORPORATION                        §

          ORDER SETTING MOTION HEARING BY ZOOM
         IT IS HEREBY ORDERED that the above entitled and numbered case is set for
MOTION HEARING BY ZOOM on Monday, December 28, 2020 at 10:00 AM. The link
for the hearing will be sent by e-mail.

       IT IS SO ORDERED this 18th day of December, 2020.




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                                         ALAN D ALBRIGHT
                                         UNITED STATES DISTRICT JUDGE
